            Case 2:17-cv-00767-PBT Document 3 Filed 06/22/17 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RENEE WALLS,                                     :
                                                 :
               Plaintiff,                        :
                                                 :          CIVIL ACTION
               v.                                :
                                                 :          NO. 17-0767
ALLTRAN EDUCATION INC., d/b/a                    :
ENTERPRISE RECOVERY                              :
SYSTEMS, INC.,                                   :
                                                 :
               Defendants.                       :
                                                 :

                                            ORDER

       AND NOW, this _21st_ day of June, 2017, the Court having been advised by a letter

faxed to the Court on April 28, 2017 that all parties in the above-captioned matter have reached a

settlement agreement, IT IS HEREBY ORDERED AND DECREED that this matter is

DISIMISSED WITH PREJUDICE, without costs, pursuant to the agreement of counsel and

Local Rule 41.1(b). 1 The Clerk of the Court shall mark this matter as CLOSED for statistical

purposes.




                                                            BY THE COURT:

                                                            /s/ Petrese B. Tucker
                                                            _________________________
                                                            Hon. Petrese B. Tucker, C.J.




       1
          Local Rule 41.1(b) states that “whenever in any civil action counsel shall notify the
Clerk or the judge to whom the action is assigned that the issues between the parties have been
settled, the Clerk shall, upon order of the judge to whom the case is assigned, enter an order
dismissing the action with prejudice, without costs, pursuant to the agreement of counsel.”
